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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

BOTANIC TONICS, LLC,

       Plaintiff,
                                                     CASE NO. 8:23-cv-01134-SDM-SPF
vs.

WESTMAN PRODUCTS, LLC,

      Defendant.
________________________________/

                            NOTICE OF APPEARANCE AND
                         DESIGNATION OF E-MAIL ADDRESSES

       The undersigned counsel and the law firm of Malloy & Malloy P.L., files this Notice of

Appearance on behalf of Defendant, Westman Products, LLC, and requests that all future pleadings

and papers in this proceeding be directed to the undersigned at the address below. Request is hereby

made that the Court provide Notices of Electronic Filings to the undersigned counsel at:

csuero@malloylaw.com and mmendez@malloylaw.com.

       Dated: August 28, 2023

                                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed through the

Florida Courts E-Filing Portal on August 28, 2023, and, through Florida Courts E-Filing Portal, was

automatically served on the parties as follows: Leon N. Patricios, Esq., Zumpano Patricios, P.A., 312

Minorca Ave., Coral Gables, FL 33134, lpatricios@zplaw.com; Kevin M. Bell, Esq., Matthew D.

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justin.ferraro@agg.com, Attorneys for Plaintiff.

                                                       /s/ Cleo I. Suero
                                                       Cleo I. Suero




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